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 3
     Attorney for Defendant
 4   JOHN HOLLISTER MAHAN
 5

 6

 7                           IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            )   Case No: 2:13-CR-0300 GEB
                                                          )
11                   Plaintiff,                           )
                                                          )   STIPULATION REGARDING
12          vs.                                           )   EXCLUDABLE TIME PERIODS UNDER
                                                          )   SPEEDY TRIAL ACT; [PROPOSED]
13   JOHN HOLLISTER MAHAN, et al.,                        )
                                                          )   FINDINGS AND ORDER
14                   Defendants.                          )
                                                          )   Date: 4/4/2014
15                                                        )   Time: 9:00 a.m.
                                                          )   Courtroom: Honorable
16                                                        )   GARLAND E. BURRELL, JR.

17

18
                                                  STIPULATION
19

20          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

21   through their respective counsel of record, hereby stipulate as follows:
22          1.       By previous order, this matter was set for status on April 4, 2014.
23
            2.       By this stipulation, defendants now move to continue the status conference until May 30,
24
     2014 at 9:00 a.m., before the Honorable Garland E. Burrell Jr. and to exclude time between April 1,
25
     2014 and May 30, 2014 under Local Code T4. Plaintiff does not oppose this request.
26
27          3.       The parties agree and stipulate, and request that the Court find the following:

28                   a.      The government has produced discovery associated with this case.

                                     STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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                     b.     Counsel for defendants request additional time to review discovery, to conduct
 1

 2   investigation and research related to the charges, to discuss potential resolutions with his client, and to

 3   otherwise prepare for trial.

 4                   c.     Counsel for defendants believe that failure to grant the above-requested
 5
     continuance would deny them the reasonable time necessary for effective preparation, taking into
 6
     account the exercise of due diligence.
 7
                     d.     The government does not object to the continuance.
 8
                     e.     Based on the above-stated findings, the ends of justice served by continuing the
 9

10   case as requested outweigh the interest of the public and the defendants in a trial within the original date

11   prescribed by the Speedy Trial Act.
12                   f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
13
     et seq., within which trial must commence, the time period between the date of the parties' stipulation,
14
     April 1, 2014 and the new status conference on May 30, 2014 , inclusive, is deemed excludable pursuant
15
     to 18 U.S.C.§ 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results from a continuance granted by
16

17   the Court at defendants’ request on the basis of the Court's finding that the ends of justice served by

18   taking such action outweigh the best interest of the public and the defendants in a speedy trial.

19          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the
20   Speedy Trial Act dictate that additional time periods are excludable from the time period within which a
21
     trial must commence.
22
            IT IS SO STIPULATED.
23
                                                                   BENJAMIN B. WAGNER
24                                                                 United States Attorney
25
        DATED: 4-1-2014                                    By:     /s/ Samuel Wong
26                                                                 Assistant United States Attorney

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                           STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
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            DATED: 4-1-2014                                                /s/ Patrick K. Hanly
 1                                                                         Counsel for Defendant
 2                                                                         John H. Mahan

 3
            DATED: 4-1-2014                                                /s/ Matthew Bockmon
 4                                                                         Counsel for Defendant
                                                                           Russell E. Gilmore
 5

 6          DATED: 4-1-2014                                                /s/ Michael Bigelow
                                                                           Counsel for Defendant
 7
                                                                           Richard D. Hemsley
 8

 9

10                                                   ORDER
11
            The Court, having received, read, and considered the stipulation of the parties, and good cause
12
     appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
13
     representation of the parties and good cause appearing therefrom, the Court hereby finds that the failure
14

15   to grant a continuance in this case would deny defense counsel reasonable time necessary for effective

16   preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice to
17   be served by granting a continuance outweigh the best interests of the public and the defendants in a
18
     speedy trial. It is ordered that time beginning from the parties' stipulation on April 1, 2014, up to and
19
     including the May 30, 2014, status conference shall be excluded from computation of time within which
20
     the trial of this matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)
21

22   (7) (A) and (B) (iv) and Local Code T 4, to allow defense counsel reasonable time to prepare.

23          Dated: April 2, 2014

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                          STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
